                       Case 23-10927-CTG            Doc 3     Filed 07/13/23       Page 1 of 1

                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware
                              824 Market Street, 3rd Floor
                                 Wilmington, DE 19801
In Re:                                                                           Case No.:23−10927−CTG
Taiga Biotechnologies, Inc.
                                                                                 Chapter:7


                        NOTICE REGARDING SUMMONS IN INVOLUNTARY CASE

   On 7/12/23, petitioning creditors filed a petition under Chapter 7 of Title 11 of the United States Code against the
above−named alleged debtor. Upon filing the petition, the petitioning creditors did not present a summons to the
Clerk for signature and seal [F.R.Civ.P. 4(b), F.R.Bank.P.1010, 7004(a)].

   A summons and certificate of service (Official Form B2500E) may be obtained from the Clerk's Office or from the
"Forms" section of the Court's website (www.deb.uscourts.gov). The summons may be presented to the Clerk for
signature and seal at the following address:

                                          United States Bankruptcy Court
                                          District of Delaware
                                          824 Market Street, 3rd Floor
                                          Wilmington, DE 19801

   Once the summons has been signed and sealed by the Clerk and issued to the petitioning creditors, it must be
served with a copy of the petition within 14 days of the issuance [F.R.Bank.P.1010, 7004(e)]. After service has been
made, a certificate of service must be filed with the Court within 7 days.

   If service of the summons and the petition is not made by the petitioning creditors upon the alleged debtor within
90 days of the filing of the petition, the court may dismiss this case [F.R.Civ.P. 4(m) made applicable by F.R.Bank.P.
7004 (a)].




Date: 7/13/23
                                                                          Una O'Boyle, Clerk of Court
(VAN−413)
